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 AO 440(Rev.06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                            for the
                                                  Central District of California Q

                       ZHOIE PEREZ




                           Plaintiffs)
                               V.                                      iPAction No.
CITY OF LOS ANGELES, OFFICER RIOS, OFFICER
    WALKER, CLAUDE JABSI, JOHN DOE 'i~



                          Defendants)


                                               SUMMONS IN A CIVIL ACTION
                                     CITY OF LOS ANGELES
To:(Defendant's name and address)
                                     200 N. SPRING STREET
                                     ROOM 360
                                     LOS ANGELES CA 90012




         A lawsuit has been filed against you.

         Within 21 days after service of this sununons on you(not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                ZHOIE PEREZ
                                14926 TEMPLAR DRIVE
                                LA M I RADA CA 90638




       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date:       ~ ~-     l0 ~ z v
                                                                                                         I149
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Civil Action No.

                                                 PROOF OF SERVICE
                  (This section should not befiled with the court unless required by FerL R. Ciu P. 4(l))

          Th1S Summons for (name ofindividual and title, ifany)

was received by me on (dare)

          ~ I personally served the summons on the individual at(place)
                                                                                 on (date)                           or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                   a person of suitable age and discretion who resides there,
          on (dare)                             ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name ofindividual)                                                                      who is
          designated by law to accept service of process on behalf of(name oforganization)
                                                                                 Ori (date)                          or

         ~ I returned the sununons unexecuted because                                                                            or

          C1 Other (SPe~~fy):




          My fees are $                         for travel and $                     for services, for a total of$        0.00


         I declare under penalty of perjury that this information is true.



Date:
                                                                                              Server's signature



                                                                                         Printed name and title




                                                                                              Server's address


Additional information regarding attempted service, etc:
